            Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 1 of 20



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLND
                                 (BALTIMORE DIVISION)

JACLYN PRASCH
c/o Zipin, Amster & Greenberg, LLC
8757 Georgia Avenue, Suite 400
Silver Spring, Maryland 20910

Individually and on Behalf of
All Others Similarly Situated,

                Plaintiff,

       v.                                          CASE NO.


BOTTOMS UP GENTLEMEN’S CLUB, LLC
415 East Baltimore Street
Baltimore, Maryland 21202

SERVE: Fred Beasley
816 West Lombard Street
Apartment - Rear
Baltimore, Maryland 21201

And

CHEZ JOEY, LLC
415 East Baltimore, Street
Baltimore, Maryland 21202

SERVE: Mario Teresi, Sr.
3926 East Pratt Street
Baltimore, Maryland 21224

                Defendants.


                    COLLECTIVE AND CLASS ACTION COMPLAINT
            Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 2 of 20



       1.       This action is styled as a hybrid collective and class action brought by Plaintiff

Jaclyn Prasch (“Plaintiff”), individually, and on behalf of the members of Plaintiff’s proposed

classes as identified and defined below.

       2.       Plaintiff and the putative class members are and/or or were individuals that

worked or performed as exotic dancers for, at, or in Defendants Bottoms Up Gentlemen’s Club,

LLC d/b/a the Bottoms Up Club (“Bottoms Up”) and/or Defendants’ Chez Joey, LLC d/b/a Chez

Joey (“Chez Joey”), both operating throughout the relevant period at 415 East Baltimore Street,

Baltimore, Maryland 21202 (“Defendants’ Chez Joey and/or Bottoms Up Clubs” or

“Defendants”) during the period March 2020, through the present (“the relevant period”).

       3.       During the relevant period, Defendants has had uniform policies and practices

misclassifying Plaintiff and the other members of their exotic dancer workforce at Defendants’

Chez Joey and/or Bottoms Up Clubs as a non-employee contractors and, arising from this

misclassification, failing to pay Plaintiff and the proposed class members minimum wage

compensation and subjecting Plaintiff and the proposed class members to unlawful kickbacks

and/or wage deductions, excessive credit card processing fees, and taking and assigning Plaintiff

and the proposed class members’ earned tips and gratuities in violation of the Fair Labor

Standards Act of 1938, as amended, (“FLSA”), the Maryland Wage Hour Law (“MWHL”), and

the Maryland Wage Payment Collection Law (“MWPCL”).

       4.       During the relevant period, Defendants, on a common and class-wide basis,

unlawfully denied Plaintiff and the proposed class members full and timely payment of

minimum wage compensation and retention of all earned wages, tips, and gratuities in violation

of the FLSA, MWHL, and MWPCL.




                                            Page 2 of 20
            Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 3 of 20



       5.       Plaintiff brings this action individually and on behalf of other similarly situated

individuals that worked or performed exotic dancers for, at, or in Defendants’ Chez Joey and/or

bottoms Up Clubs during the relevant period, as a collective action pursuant to the FLSA for the

purpose of obtaining relief under the FLSA for unpaid minimum wages, recovery of unlawfully

assigned or withheld earned wages, tips, and gratuities, liquidated damages, costs, attorneys’

fees, and/or any such other relief the Court may deem appropriate.

       6.       Plaintiff brings this action individually and on behalf of other similarly situated

individuals that worked or performed exotic dancers for, at, or in Defendants’ Chez Joey and/or

Bottoms Up Clubs during the relevant period, as a class action pursuant to the MWHL and

MWPCL for the purpose of obtaining relief under Maryland law for unpaid minimum wages,

recovery of unlawfully assigned or withheld earned wages, tips, and gratuities, liquidated

damages, costs, attorneys’ fees, and/or any such other relief the Court may deem appropriate.

                                 JURISDICTION AND VENUE

       7.       This Court has original jurisdiction to hear this complaint and to adjudicate the

claims stated herein under 28 U.S.C. §1331, this action being brought under the FLSA, 29

U.S.C. §201, et seq.

       8.       The Court has supplemental jurisdiction over the state law claims pursuant to 28

U.S.C. §1367, as they are so related in this action within such original jurisdiction that they form

part of the same case or controversy under Article III of the United States Constitution.

       9.       Venue is proper pursuant to 28 U.S.C. §1391(b) and (c) in the U.S. District Court

for the District of Maryland, Baltimore Division, because a substantial part of the events or

omissions giving rise to the claims occurred within Baltimore City, Maryland, and Defendants

have had substantial and systematic contacts within Baltimore City, Maryland, within the

relevant period.

                                            Page 3 of 20
           Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 4 of 20




                                           PARTIES

         10.   Bottoms Up is a limited liability company, formed under the laws of the State of

Maryland, with its principal place of business in Baltimore City, Maryland.

         11.   Chez Joey is a limited liability company, formed under the laws of the State of

Maryland, with its principal place of business in Baltimore City, Maryland.

         12.   During the relevant period, Defendants owned and operated Bottoms Up and

Chez Joey as strip clubs, featuring nude and semi-nude female exotic dancers performing

provocative and/or erotic dances for the entertainment of Defendants’ customers.

         13.   During the relevant period, Defendants qualified as joint employer and/or as a

single-employer enterprise of and for Plaintiff and all individuals that worked or performed as

exotic dancers for, at, or in Defendants’ Chez Joey and/or Bottoms Up Clubs.

         14.   During the period relevant to his action, common ownership, managers, and/or

agents commonly acting on behalf of both Defendants oversaw, directed, and otherwise

controlled the terms and conditions of employment of and for Plaintiff and all individuals that

worked or performed as exotic dancers for, at, or in Defendants’ Chez Joey and/or Bottoms Up

Clubs.

         15.   During the period relevant to this action, common ownership, managers, and/or

agents commonly acting on behalf of both Defendants held full authority and control to set

and/or modify work duties, work responsibilities, work hours, and rate and method of

compensation of and for Plaintiff and all individuals that worked or performed as exotic dancers

for, at, or in Defendants’ Chez Joey and/or Bottoms Up Clubs.




                                          Page 4 of 20
         Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 5 of 20



       16.     During the period relevant to this action, common ownership, managers, and/or

agents commonly acting on behalf of both Defendants had full power and authority to hire, fire,

and/or discipline and/or alter the conditions of employment of and for Plaintiff and all

individuals that worked or performed as exotic dancers for, at, or in Defendants’ Chez Joey

and/or Bottoms Up Clubs.

       17.     During the period relevant to this action, exotic dancer work duties performed by

Plaintiff and all individuals that worked or performed as exotic dancers for, at, or in Defendants’

Chez Joey and/or Bottoms Up Clubs was ongoing and at-will and not ad hoc and/or limited to a

discrete time or special assignment.

       18.     During the period relevant to this action, common ownership, managers, and/or

agents of Defendants owned and operated Defendants’ Chez Joey and Bottoms Up Clubs in

cooperatively for the singular purpose of operating strip clubs providing exotic dancer and

related adult entertainment for the benefit and enjoyment of Defendants’ mutual customers.

       19.     During the period relevant to this action, Plaintiff and all individuals that worked

or performed as exotic dancers for, at, or in Defendants’ Chez Joey and/or Bottoms Up Clubs

performed exotic dancer employment duties at Defendants’ common ownership, management,

and/or supervisors’ direction and instruction for the primary benefit of Defendants’ Chez Joey

and Bottoms Up Clubs during the same days and/or weeks.

       20.     During the period relevant to this action, Plaintiff and all individuals that worked

or performed as exotic dancers for, at, or in Defendants’ Chez Joey and/or Bottoms Up Clubs did

so for Defendants’ common benefit at Defendants’ single business location, 415 E Baltimore

Street, Baltimore, Maryland 21202, owned or leased, operated, and controlled by Defendants’

common ownership.



                                           Page 5 of 20
         Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 6 of 20



       21.      During the period relevant to this action, Defendants shared common time

keeping and compensation practices related to Plaintiff and all individuals that worked or

performed as exotic dancers for, at, or in Defendants’ Chez Joey and/or Bottoms Up Clubs,

through a common and mutually shared accountant/bookkeeper and similar administrative and

bookkeeping tools to make general business and/or operational decisions for the primary benefit

of Defendants’ common ownership and management.

       22.      Plaintiff is an adult resident of Baltimore, Maryland.

       23.      By acting as the named Plaintiff and affixing her name to the caption in this

pleading, Plaintiff provides the Court with her written consent to prosecute her individual and

representative claims against Defendants for unpaid wages and damages under the FLSA and

Maryland law.

                                      CLASS DEFINITIONS

       24.      Plaintiff brings this action on behalf of herself and all other similarly situated

employees in the FLSA Minimum Wage Class, as authorized under the FLSA, 29 U.S.C.

§ 216(b). The FLSA Minimum Wage Class is defined as follows:

                All persons who worked or performed as exotic dancers for, in, or
                at Defendants’ Chez Joey and/or Bottoms Up Clubs, during the
                period March 2020 through the date of judgment in this case
                (hereafter, “the FLSA Minimum Wage Class”).

       25.      Plaintiff brings this action on behalf of herself and all other similarly situated

employees in sub-classes under the MWHL and MWPCL pursuant to FED.R.CIV.P. 23. The

MWHL and MWPCL sub-classes are defined as follows:

                All persons who worked or performed as exotic dancers for, in, or
                at Defendants’ Chez Joey and/or Bottoms Up Clubs, during the
                period March 2020 through the date of judgment in this case
                (hereafter, “the Maryland Classes”).



                                             Page 6 of 20
          Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 7 of 20



        26.     The FLSA Minimum Wage Class, the Maryland Classes will be referred to

collectively hereinafter as the “the Classes.”

                                INDIVIDUAL ALLEGATIONS

        27.     Plaintiff was employed by Defendants to work or perform as an exotic dancer for,

at, or in Defendants’ Bottoms Up Club, primarily between about March 2021, until about

October 2021.

        28.     Plaintiff was employed by Defendants to work or perform as an exotic dancer for,

at, or in Defendants’ Chez Joey Club, primarily from about October 2021, through about January

2023.

        29.     At all times during Plaintiff’s period of employment, Defendants commonly

classified Plaintiff as a non-employee contractor while working or performing as an exotic

dancer for, at, or in Defendants’ Chez Joey and/or Bottoms Up Clubs.

        30.     During the period of Plaintiff’s employment, Plaintiff typically and customarily

worked the day shift, from about 12:00 PM until about 8:00 PM, and occasionally worked

evening shifts from about 8:00 PM, until about 2:00 AM.

        31.     During the period of Plaintiff’s employment, Plaintiff customarily worked at

about 3-5 shifts per week, for an average of 21-35 hours per week.

        32.     During the period of Plaintiff’s employment, Defendants failed to pay Plaintiff

any wages at all for hours worked.

        33.     During the period of Plaintiff’s employment, Plaintiff received tips or money

directly from Defendants’ customers for dancing on stage, interacting with customers, and by

selling “drinks,” which included Plaintiff’s sale of beverages and Plaintiff’s performance of non-

VIP exotic dances for the entertainment of Defendants’ customers.



                                            Page 7 of 20
          Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 8 of 20



       34.     During the period of Plaintiff’s employment, when Plaintiff worked evening

shifts, Defendants required Plaintiff to pay Defendants a per-shift kickback or “house fee” as a

condition of her employment for the shift. The kickback or “house fee” ranged from about

$25.00 to $50.00, per shift.

       35.     During the period of Plaintiff’s employment, at the conclusion of Plaintiff’s shift,

Defendants regularly and customarily required Plaintiff to pay a “tip out” or pay and/or assign a

portion of the tips she received from Defendants’ customers to Defendants’ other employees, in

the amount of about $20.00-$40.00, per shift.

       36.     During the period of Plaintiff’s employment, Defendants unlawfully deducted and

retained 50% of all tips or gratuities and/or similar payments Defendants’ customers paid

directly to Plaintiff through credit cards. This 50% deduction far exceeded the actual credit card

processing fee charged to Defendants by the credit card companies, which typically fell within

the range of about 2%-5%.

                                 GENERAL ALLEGATIONS

       37.     Plaintiff and the members of the Classes worked or performed as exotic dancers

for, in, or at Defendants’ Chez Joey and/or Bottoms Up Clubs during the period March 2020,

through the date of judgment in this case.

       38.     During the relevant period, Plaintiff and the members of the Classes danced to

music which Defendants streamed over the internet. The internet is an instrumentality of

commerce. As such, Plaintiff and the members of the Classes used instrumentalities of

commerce while working or performing as exotic dancers for, at, or in Defendants’ Chez Joey

and/or Bottoms Up Clubs.




                                             Page 8 of 20
          Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 9 of 20



       39.     During the relevant period, Defendants’ cashiers that took payments for all VIPs,

drinks, and/or dances performed by Plaintiff and the members of the Classes. The cashiers

process numerous credit card transactions each day Defendants’ Chez Joey and/or Bottoms Up

Clubs were open.

       40.     During the relevant period, Defendants served beer and liquor at Defendants’

Chez Joeys and/or Bottoms Up Clubs that was brewed/distilled outside of Maryland, along with

soda which was also manufactured outside of Maryland.

       41.     In each year relevant, Defendants had gross sales or revenue exceeding

$500,000.00.

       42.     During the relevant period, Defendants commonly labeled and/or classified

Plaintiff and the members of the Classes as non-employee contractors and not as employees.

       43.     During the relevant period, Defendants retained the absolute right and authority to

control and direct the exotic dancer work duties performed by Plaintiff and the members of the

Classes inside Defendants Chez Joey and Bottoms Up Clubs.

       44.     During the relevant period, Defendants required Plaintiff and the members of the

Classes to adhere to and follow prescribed rules, procedures, polices, and codes of conduct

regarding breaks and how, when, and where to dance working or performing as exotic dancers

for, at, or in Defendants’ Chez Joey and/or Bottoms Up Clubs.

       45.     During the relevant period, Defendants subjected Plaintiff members of the Classes

to discipline and/or fines for failing to follow Defendants’ rules, procedures, policies, and codes

of conduct for exotic dancers working or performing for, at, or in Defendants’ Chez Chey and/or

Bottoms Up Clubs.




                                           Page 9 of 20
         Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 10 of 20



       46.     During the relevant period, Defendants set the rate which Plaintiff and the

members of the Classes were restricted to and/or permitted to charge customers for “drinks,”

non-VIP private and/or semi-private dances, and for VIP dances at or in Defendants’ Chez Joey

and/or Bottoms Up Clubs.

       47.     During the relevant period, Defendants, by and through direct supervision by

managers, supervisors, and other employees and/or contractors, had actual knowledge of all

hours Plaintiff and the members of the Classes worked or performed as exotic dancers for, at, or

in Defendants’ Chez Joey and/or Bottoms Up Clubs.

       48.     During the relevant period, Defendants did not pay any wages or any form of

compensation to Plaintiff or the members of the Classes for exotic dancer work duties performed

for, in, or at Defendants’ Chez Joey and/or Bottoms Up Clubs.

       49.     During the relevant period, Plaintiff and the members of the Classes received

compensation exclusively in the form of tips or gratuities paid directly by Defendants’

customers.

       50.     During the relevant period, Defendants and/or Defendants’ managers charged

and/or deducted unlawful kickbacks from Plaintiff and the members of the Classes including a

per-shift house fee kickback or deduction for evening shift work in the range of about $25.00 -

$50.00 per shift, depending on arrival time.

       51.     During the relevant period, at the conclusion of their shift, Defendants regularly

and customarily required Plaintiff and the members of the Classes to pay a “tip out” or pay

and/or assign a portion of the tips received from Defendants’ customers to Defendants’ other

employees, in an about of about $20.00-$40.00, per shift.




                                          Page 10 of 20
         Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 11 of 20



       52.     During the relevant period, Defendants unlawfully deducted and retained 50% of

all tips Defendants’ customers paid Plaintiff and all members of the Classes through credit cards.

This 50% deduction far exceeded the actual credit card processing fee charged to Defendants by

the credit card companies, which typically fell within the range of about 2%-5%.

       53.     Prior to the period relevant to this action, Defendants and/or Defendants’ common

management and ownership, were subject to one or more lawsuits by current or former exotic

dancers wherein the current or former exotic dancers alleged FLSA and Maryland minimum

wage and/or wage payment violations nearly identical to those alleged in this action on behalf of

Plaintiff and the members of the Classes.

       54.     Arising from Defendants and/or Defendants’ common ownership and/or

managements’ participation in substantially similar prior litigation, during the relevant period,

Defendants had actual knowledge their misclassification of Plaintiff and the members of the

Classes, failure to pay wages, charging kickbacks and/or direction of tip assignments was in

direct violation of the FLSA, the MWHL, and the MWPCL.

       55.     Defendants’ conduct and violations of the FLSA, MWHL, and MWPCL, as set

forth in this pleading, was willful and in bad faith, and has caused significant damages to

Plaintiff the members of the Classes.

              COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       56.     Plaintiff brings her FLSA claims in this action on behalf of herself and members

of the FLSA Minimum Wage Class, each of whom, during the period March 2020, through the

present, work(ed) and/or perform(ed) as exotic dancers for, at, or in Defendants Chez Joey

and/or Bottoms Up Clubs, and were (i) misclassified by Defendants as non-employee

contractors; (ii) were not paid direct wages from Defendants for hours worked at or above the




                                            Page 11 of 20
         Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 12 of 20



Federal Minimum Wage rate; and (iii) were subject to unlawful kickback deductions and/or

excessive credit card fee transactions and/or unlawful tip assignments in violation of the FLSA.

       57.     The FLSA claims of Plaintiff stated herein against Defendants are the same or

substantially similar to the FLSA claims of the members of the FLSA Minimum Wage Class.

       58.     Plaintiff and the FLSA Minimum Wage Class seek relief on a collective basis and

challenge Defendants’ policies and practices which lead to the class wide FLSA wage payment

violations herein identified.

                      RULE 23 CLASS ALLEGATIONS - MARYLAND

       59.     Plaintiff brings her MWHL and MWPCL Maryland state law claims as a Class

Action in sub-classes under FED. R. CIV. P. 23 on behalf of the members of the Maryland Classes

for violations of the MWHL and MWPCL occurring on or after March 2020, through the date of

judgment in this case.

       60.     The members of the MWHL and MWPCL sub-classes of the Maryland Classes

are readily ascertainable from records in Defendants’ possession, custody, or control.

       61.     The MWHL and MWPCL sub-classes of the Maryland Classes are each so

numerous that joinder of all members is impracticable, and more importantly the disposition of

their claims as a class will benefit the parties and the Court. Although the precise number of such

persons is unknown, and the facts on which the calculation of that number are presently within

Defendants’ sole custody control, upon information and belief, there are at least fifty (50)

members in the MWHL and MWPCL sub-classes Maryland Classes.

       62.     Plaintiff’s MWHL and MWPCL claims of the MWHL and MWPCL claims of the

members of the MWHL and MWPCL sub-classes of the Maryland Classes arise from

Defendants’ (i) class-wide misclassification of Plaintiff and the members of the Maryland



                                           Page 12 of 20
         Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 13 of 20



Classes as non-employee contractors; (ii) failure to pay direct wages to Plaintiff and the members

of the Maryland Classes at an hourly rate at least equal to the Maryland Minimum Wage; (iii)

charging and/or deductions of kickbacks and/or per-shift “house fees” and/or excessive credit

card transaction fees from Plaintiff and the members of the Maryland Classes; and (iv)

deductions and/or assignments of tips and/or gratuities from Plaintiff and the members of the

Maryland Classes.

       63.      Plaintiff’s MWHL and MWPCL claims are typical of those claims which could be

alleged by any member of the MWHL or MWPCL sub-class of the Maryland Classes and the

relief sought is typical of the relief which would be sought by each member of the MWHL and

MWPCL sub-classes of the Maryland Classes in separate actions.

       64.      Plaintiff and the members of the MWHL and MWPCL sub-classes of the

Maryland Classes sustained similar losses, injuries and damages arising from the same unlawful

policies, practices and procedures perpetrated by Defendants during the relevant period in

violation of the MWHL and the MWPCL.

       65.      Plaintiff and Plaintiff’s counsel can fairly and adequately protect the interests of

the Maryland Classes and has no interests antagonistic to the members of the members of the

MWHL or MWPCL sub-classes of the Maryland Classes.

       66.      There are questions of fact and law common to the MWHL and MWPCL claims

belonging to Plaintiff and the members of the MWPCL and MWPCL sub-classes of the

Maryland Classes that predominate over any questions affecting only individual members, such

as:

             a) Whether Plaintiff and the members of the Maryland Classes were Defendants’

                employees under the MWHL and the MWPCL;



                                            Page 13 of 20
         Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 14 of 20



             b) Whether Defendants violated the MWHL and the MWPCL by failing to fully and

                timely pay Plaintiff and the Members of the Maryland Classes direct wages the

                applicable Maryland Minimum Wage rate for all hours worked;

             c) Whether Defendants violated the MWHL and the MWPCL by charging a

                kickback “house fee” against Plaintiff and the members of the Maryland Classes

                each shift evening worked;

             d) Whether Defendants violated the MWHL and the MWPCL by charging Plaintiff

                and the members of the Maryland Classes an excessive credit card processing fee

                from payments made by Defendants’ customers to Plaintiff and the members of

                the Maryland Classes;

             e) Whether Defendants violated the MWHL and the MWPCL by deducting tips

                and/or gratuities received by Plaintiff and the members of the Maryland Classes

                and assigning payment of the same to Defendants’ non-dancer assignees; and

             f) Whether Defendants’ violations of the MWHL and the MWPCL was willful,

                intentional, the product of good faith, or arose from a bona fide dispute by or

                between Defendant and Plaintiff and the members of the Maryland Classes.

       67.      A class action divided into MWHL and MWPCL sub-classes is superior to other

available methods for the fair and efficient adjudication of the controversy, particularly in the

context of wage and hour litigation where individual plaintiffs bringing claims under the MWHL

and/or MWPCL lack the financial resources to vigorously prosecute separate lawsuits in Federal

Court, particularly those with relatively small claims.

       68.      The questions set forth above related to the MWHL and MWPCL claims by

Plaintiff and the members of the MWHL and MWPCL sub-classes of the Maryland Classes



                                           Page 14 of 20
          Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 15 of 20



predominate over any questions affecting only individual persons, and a class action divided into

MWHL and MWPCL sub-classes promotes consistency, economy, efficiency, fairness and

equity, to other available methods for the fair and efficient adjudication of the claims.

                                         COUNT I
               Violation of the Fair Labor Standards Act of 1938 as Amended

         69.   Plaintiff, on behalf of herself and the FLSA Minimum Wage Class, reasserts and

incorporates by reference all paragraphs set forth above as if restated herein.

         70.   During the relevant period, Defendants qualified Plaintiff and the FLSA

Minimum Wage Class’s employer, joint employer, and/or single enterprise employer under the

FLSA.

         71.   As a result of the above alleged practices, during the relevant period, Defendants

violated the FLSA by failing to compensate Plaintiff and the FLSA Minimum Wage Class for all

hours worked at the Federal Minimum Wage rate.

         72.   As a result of the above alleged practices, during the relevant period, Defendants

violated the FLSA by charging and deducting unlawful wage kickbacks and/or excessive credit

card processing fees and/or tip assignments against Plaintiff and the FLSA Minimum Wage

Class.

         73.   Plaintiff and the FLSA Minimum Wage Class are owed and entitled to payment

of FLSA minimum wage compensation equal to (i) reimbursement of all deducted, assigned,

and/or withheld kickback charges, excessive credit card processing fees, and tip and/or gratuity

deductions and/or assignments and (ii) payment of direct wages at the “free and clear” Federal

Minimum Wage rate for all hours worked during the relevant period.

         74.   Prior to and during the relevant period, Defendants had actual and/or constructive

knowledge of the FLSA Minimum Wage and wage payment requirements and Defendants’


                                           Page 15 of 20
           Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 16 of 20



failure to abide by the same in compensating Plaintiff and the FLSA Minimum Wage Class was

willful, knowing and intentional or, at minimum, reckless.

          75.   Defendants’ failure to properly compensate Plaintiff and the FLSA Minimum

Wage Class during the relevant period as required by the FLSA was not the product of good faith

on the part of Defendants.

                                         COUNT II
                Violation of Maryland Law – Unpaid Minimum Wages (MWHL)

          76.   Plaintiff, on behalf of herself and the members of the MWHL sub-class of the

Maryland Classes, re-alleges and incorporates all previous paragraphs as if they were set forth

herein.

          77.   During the relevant period, Plaintiff and the members of the MWHL sub-class of

the Maryland Classes performed exotic dancer employment duties for Defendants’ primary

benefit, for, at, or in Defendants’ Chez Joey and/or Bottoms Up Clubs, within Baltimore City,

Maryland.

          78.   During the relevant period, Defendants qualified Plaintiff and the members of the

MWHL sub-class of the Maryland Classes’ employer, joint employer, and/or single enterprise

employer under the MWHL.

          79.   As a result of the above alleged practices, during the relevant period, Defendants

violated the MWHL by failing to compensate Plaintiff and the members of the MWHL sub-class

of the Maryland Classes for all hours worked at the Maryland Minimum Wage rate.

          80.   As a result of the above alleged practices, during the relevant period, Defendants

violated the MWHL by charging and deducting unlawful wage kickbacks and/or excessive credit

card processing fees and/or tip assignments against Plaintiff and the members of the MWHL sub-

class of the Maryland Classes.


                                           Page 16 of 20
            Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 17 of 20



          81.   Plaintiff and the members of the MWHL sub-class are owed and entitled payment

to unpaid wages equal to (i) reimbursement of all deducted, assigned, and/or withheld kickback

charges and tip and/or excessive credit card processing fees, gratuity deductions and/or

assignments and (ii) payment of direct wages at the “free and clear” Maryland Minimum Wage

rate for all hours worked during the relevant period.

          82.   Prior to and during the relevant period, Defendants had actual and/or constructive

knowledge of the Maryland Minimum Wage and the MWHL wage payment requirements and

Defendants’ failure to abide by the same in compensating Plaintiff and the members of the

MWHL sub-class of the Maryland Classes was willful, knowing and intentional or, at minimum,

reckless.

          83.   Defendants’ failure to properly compensate Plaintiff and the members of the

MWHL sub-class of the Maryland Classes during the relevant period as required by the MWHL

was not the product of good faith.

                                        COUNT III
                                Violation of Maryland Law
                  Unlawful Deductions/Failure to Pay Full and Timely Wages
                           Required by Maryland Law (MWPCL)

          84.   Plaintiff, on behalf of herself and the members of the MWPCL sub-class of the

Maryland Classes, re-alleges and incorporates all previous paragraphs as if they were set forth

herein.

          85.   During the relevant period, Plaintiff and the members of the MWPCL sub-class of

the Maryland Classes performed exotic dancer employment duties for the primary benefit of

Defendants for, at, or in Defendants’ Chez Joey and/or Bottoms Up Clubs, within Baltimore

City, Maryland.




                                          Page 17 of 20
         Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 18 of 20



       86.     During the relevant period, Defendants qualified Plaintiff and the members of the

MWPCL sub-class of the Maryland Classes’ employer, joint employer, and/or single enterprise

employer under the MWPCL.

       87.     As a result of the above alleged practices, during the relevant period, Defendants

violated the MWPCL by failing to fully and timely compensate Plaintiff and the members of the

MWPCL sub-class of the Maryland Classes all wages earned and due and owing for all hours

worked at the Maryland Minimum Wage as required by Maryland law.

       88.     As a result of the above alleged practices, during the relevant period, Defendants

violated the MWPCL by charging and deducting unlawful wage kickbacks and/or excessive

credit card processing fees and/or tip assignments against Plaintiff and the members of the

MWPCL sub-class of the Maryland Classes resulting in unlawful deductions and/or a failure by

Defendants to fully and timely pay all wages earned and due and owing for all hours worked.

       89.     Plaintiff and the members of the MWPCL sub-class are owed and entitled to

unpaid Maryland unpaid wages equal to (i) reimbursement of all deducted, assigned, and/or

withheld kickback charges and/or excessive credit processing fees and/or tip and/or gratuity

deductions and/or assignments and (ii) payment of direct wages at the “free and clear” Maryland

Minimum Wage rate for all hours worked during the relevant period.

       90.     Prior to and during the relevant period, Defendants had actual and/or constructive

knowledge of the Maryland and MWPCL wage payment requirements and Defendants’ failure to

abide by the same in compensating Plaintiff and the members of the MWPCL sub-class of the

Maryland Classes was willful, knowing, and intentional or, at minimum, reckless.

       91.     Defendants’ failure to properly full and timely compensate Plaintiff and the

members of the MWPCL sub-class of the Maryland Classes earned wages during the relevant



                                          Page 18 of 20
         Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 19 of 20



period as required by the Maryland law and the MWPCL was not the product of good faith on

the part of Defendants or a bona fide dispute by or between Defendants and Plaintiff or the

members of the MWPCL sub-class of the Maryland Classes.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and on the behalf of all members of the

Classes requests the following relief:

           a) An order designating this action as a collective action on behalf of the Plaintiff

               and the FLSA Minimum Wage Class and issuance of notices pursuant to 29

               U.S.C. § 216(b) to all members of the FLSA Minimum Wage Class;

           b) An order certifying this action as a FED. R. CIV. P. 23 class action on behalf of the

               proposed MWHL and MWPCL sub-classes of the Maryland Classes;

           c) An order designating the Plaintiff as representative of the FLSA Minimum Wage

               Class and the MWHL and MWPCL sub-classes of the Maryland Classes and

               appointment of Plaintiff’s counsel as counsel for the FLSA Minimum Wage Class

               and the MWHL and MWPCL sub-classes of the Maryland Classes;

           d) Leave to add additional plaintiffs by motion, the filing of written consent forms,

               or any other method approved by the Court;

           e) An order finding that Defendants violated the FLSA, MWHL, and the MWPCL;

           f) An order finding Defendants’ violations of the FLSA, MWHL, and MWPCL

               were not the product of good faith;

           g) An order finding Defendants’ violations of the FLSA, MWHL, and MWPCL

               were willful;




                                          Page 19 of 20
 Case 1:23-cv-00634-LKG Document 1 Filed 03/08/23 Page 20 of 20



   h) Judgment against Defendants and in favor of Plaintiff and the members of the

       FLSA Minimum Wage Class and the Maryland Classes equal (i) reimbursement

       of all deducted, assigned, and/or withheld kickback charges, excessive credit card

       processing fees, and tip and/or gratuity deductions and/or assignments and (ii)

       payment of direct wages at the “free and clear” applicable minimum wage rate for

       all hours worked during the relevant period.

   i) An award against Defendants and in favor of Plaintiff and the members of the

       FLSA Minimum Wage Class and the Maryland Classes in the full amount of all

       available liquidated damages and penalties as provided under the FLSA, MWHL,

       and MWPCL;

   j) An award in the amount of all costs and attorneys’ fees incurred in prosecuting

       these claims; and

   k) Such further relief as the Court deems just and equitable.

Dated this 8th day of March 2023             Respectfully submitted,

                                             ZIPIN, AMSTER & GREENBERG, LLC

                                              __/s/_Gregg C. Greenberg____________
                                             Gregg C. Greenberg
                                             Maryland Federal Bar No. 17291
                                             8757 Georgia Avenue, Suite 400
                                             Silver Spring, Maryland 20910
                                             Telephone: 301-587-9373
                                             Fax: 240-839-9142
                                             Email: ggreenberg@zagfirm.com

                                             Counsel for Plaintiff and the Classes




                                   Page 20 of 20
